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                                                               January 18, 2023


Via CM/ECF
Lyle W. Cayce
Clerk of Court
United States Court of Appeals
Fifth Circuit
600 S. Maestri Place
New Orleans, Louisiana 70130

   Re:       Abbott v. Biden et al., No. 22-40399

Dear Mr. Cayce:

    The Court requested letter briefing on “how, if at all, [the] Department of
Defense’s new policy affects the appropriate disposition of this case.” DOD’s new
policy does not affect disposition of this appeal because, although it rescinds
Defendants’ COVID-19 vaccination mandate, it expressly reserves authority to
punish persons who failed to comply with the mandate while it was in effect. This
appeal concerns Governor Abbott’s motion for a preliminary injunction preventing
such enforcement. The new policy would, however, affect the scope of the case on
remand because Governor Abbott’s separate requested relief of vacatur is no longer
at issue.

   Governor Abbott brought this suit to challenge Defendants’ COVID-19
vaccination mandate as applied to non-federalized National Guardsmen. That
mandate was operationalized beginning with Secretary Austin’s August 24, 2021
memorandum to his subordinates to “begin full [COVID-19] vaccination of all
members . . . including the National Guard.” ROA.264-65. As Governor Abbott’s
briefing explained, and as the Defendants conceded at oral argument, Defendants
have threatened a series of punishments for Guardsmen who do not comply,
including courts-martial, discharge, restriction on Title 32 training participation, and
withholding of individual pay. See, e.g., Appellant’s Opening Br. at 23-27; ROA.424-
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26. Governor Abbott’s challenge to the mandate encompasses a challenge to these
threatened “punishments.” ROA.114 (operative complaint). And Governor
Abbott’s requested relief includes “[p]reliminarily and permanently enjoin[ing] the
Defendants . . . from enforcing the DoD Vaccine Mandate as to non-federalized
Texas” Guardsmen. ROA.119. This appeal arose out of the district court’s denial of
a preliminary injunction.

   On December 23, 2022, the President signed into law the National Defense
Authorization Act for Fiscal Year 2023. That Act directed Secretary Austin to
rescind the “mandate that members of the Armed Forces be vaccinated against
COVID-19 pursuant to [his] memorandum dated August 24, 2021.” See James M.
Inhofe National Defense Authorization Act for Fiscal Year 2023, 117th Cong. § 525
(2022). But the Act does not say anything about whether Secretary Austin’s August
24 memorandum was lawful while in effect, nor does it purport to control whether
Secretary Austin can continue to punish noncompliance with the memorandum.

   On January 10, 2023, Secretary Austin issued a new memorandum (the New
Policy) rescinding his August 24 memorandum. See Dkt No. 52 at 3. The New Policy,
however, expressly reserves authority to punish persons who did not comply with
the August 24 memorandum while it was in effect. Unvaccinated persons are
protected from punishment only if they “sought an accommodation” from the
vaccination requirement while it was in effect. Id. But, as explained in the
accompanying Declaration of Major General Thomas Suelzer, over 1,000
unvaccinated Texas National Guardsmen never sought such accommodation. Ex. A
¶¶ 7-9.

    Defendants’ New Policy does not affect the disposition of this appeal because
Governor Abbott’s Guardsmen are still faced with the same threatened punishment
that was present before Defendants issued the New Policy. This is not a case, then,
where a change in policy results in mootness. “An intervening event” such as the
New Policy “will only render a plaintiff’s action moot if the plaintiff is divested of
all personal interest in the result or the effect of the alleged violation is completely
eradicated.” Dailey v. Vought Aircraft Co., 141 F.3d 224, 227 (5th Cir. 1998). Because
Defendants have reserved authority to punish over 1,000 Texas National
Guardsmen for failure to vaccinate, the New Policy does not “completely eradicate”
the August 24 memorandum’s effects. Id.; see also, e.g., First Nat. Bank of Lamarque
v. Smith, 610 F.2d 1258, 1263 (5th Cir. 1980) (new regulation “certainly does not


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moot” challenge to old agency directive where old directive continued to govern
conduct that occurred while it was operative); Kirchberg v. Feenstra, 450 U.S. 455,
459 n.6 (1981). Even though the vaccination requirement is no longer operative, the
Court has jurisdiction to prevent the “collateral consequences” of that action from
accruing. Dailey, 141 F.3d at 227; see also Connell v. Shoemaker, 555 F.2d 483, 486-88
(5th Cir. 1977) (lawsuit against Army not moot, even though challenged Army action
was expired, because of “collateral consequences” of challenged action); MetroPCS
Cal., LLC v. Picker, 970 F.3d 1106, 1117 (9th Cir. 2020) (challenge to outdated
regulations not moot because plaintiff “ha[d] not complied with the” regulations
while they were active). And an injunction against enforcement would prevent those
collateral consequences.

    The New Policy does, however, affect the scope of the relief Governor Abbott is
seeking. Accord Lamarque, 610 F.2d at 1263 (new regulation “limits the scope” of
case but does not moot it). Specifically, because Secretary Austin rescinded his
COVID-19 vaccine mandate, there is no longer any relevant action to “vacate.” See
ROA.119 (requesting this relief in addition to an injunction). That will become
relevant on remand. But this appeal concerns only the district court’s denial of a
preliminary injunction. See, e.g., 5 U.S.C. §§ 703, 706 (distinguishing between a
court’s authority to enjoin, versus “set aside” (vacate) agency action). And nothing
about the New Policy affects Governor Abbott’s entitlement to that relief.



                                                                                         Respectfully submitted.

                                                                                         /s/ Ryan S. Baasch

                                                                                         Ryan S. Baasch
                                                                                         Assistant Solicitor General

                                                                                         Counsel of Record for Plaintiff-Appellant
                                                                                         Governor Greg Abbott

cc: counsel of record (via CM/ECF)




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                       EXHIBIT A
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